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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION
“IN ADMIRALTY”

CASE NO: 21-cv-60334

E.C, RUFF MARINE, INC.
a Florida Profit Corporation,

Plaintiff,
vs

M/V “BELLA GIORNATA,” 89’ Lazzara,
motor vessel, her boats, engines,

tackle, equipment, apparel, furnishings,
freights, appurtenances, and all fixtures and
other necessaries there unto appertaining and
belonging to the vessel, in rem.

Defendant.
/

CONSENT AND INDEMNIFICATION AGREEMENT
FOR THE APPOINTMENT OF A SUBSTITUTE CUSTODIAN
Proposed Substitute Custodian, APEX MARINE, LLC, hereby expressly release the U.S.
Marshal for this district, the U.S. Marshal Service, Plaintiff, Plaintiff's Counsel, and any other
individuals or entities associated with the arrest of the vessel, from any and all liability and
responsibility for the care and custody of Defendant Vessel, M/Y “BELLA GIORNATA,” her
boats, engines, tackle, equipment, apparel, furnishings, freights, appurtenances, and all fixtures
and other necessaries there unto appertaining and belonging to the vessel, while in the care, custody

and control of APEX MARINE, LLC.

APEX MARINE, LLC also expressly agrees to hold the U.S. Marshal for this district, the

U.S. Marshal Service, Plaintiff, Plaintiff's Counsel, and any other individuals or entities associated

 
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with the arrest of the vessel, harmless from any and all claims whatsoever arising during the period

of the substitute custodianship.

SIGNED this || day of June, 2021.
On behalf of APEX MARINE, LLC

A———

Authorized Agent

Ts wn Lelete

Print Name

APEX MARINE, LLC
1995 N.W. 11" Street
Miami, FL 33125
(305) 858-9700

I, Adam M. Ludwin, have been authorized to execute and submit this agreement on behalf

of Plaintiff, E,;C. RUFF MARINE, INC.

By: /s/ Adam Ludwin
Adam M. Ludwin, Esq.
FL Bar No.: 101742
Attorney for Plaintiff
Ludwin Law Group, P.A.
85 S.E. 4" Avenue, Suite 108
Delray Beach, FL 33483
Office Phone: (561) 455-4455
Email: Adam@LudwinLaw.com
Secondary Email: Taneika@LudwinLaw.com

cc: US Marshal Service
